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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2:050r20242-M1

GENO BROWNLEE A/K/A ELGENOIE
BROWNLEE A!K/A COURTNEY
CARLTON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, JULY 21, 2005 at 3:00 P.M. before United States Magistrate Judge S. Thomas
Aoderson in Courtroom M-3, Ninth Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: July18, 2005 p@lw % %g/Wf

DIANE K. vESCovo"
UNITED sTATES MAGISTRATE IUDGE

 

‘lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own moti on, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BfB5} Order of Ter'nporary Detention

This document entered on the docket speed IE compliance
with Ru|e 55 and/or 32(b) FRCrP on "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20242 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
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Honorable J on McCalla
US DISTRICT COURT

